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                                  UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA                            8/21/2020
                                         Lynchburg Division


    LEAGUE OF WOMEN VOTERS OF
    VIRGINIA;      KATHERINE    D.
    CROWLEY;     SEIJRA   TOOGOOD;
    GAYLE     HARDY;    CAROL   D.
    PETERSEN; and TRACY SAFRAN,                        Case No. 6:20-cv-00024-NKM-RSB

                      Plaintiffs,

               v.

    VIRGINIA      STATE      BOARD        OF
    ELECTIONS; ROBERT H. BRINK,
    JOHN O’BANNON, and JAMILAH D.
    LECRUISE, in their official capacities as
    Chairman, Vice-Chair, and Secretary of
    the Virginia State Board of Elections,
    respectively; and CHRISTOPHER E.
    PIPER, in his official capacity as
    Commissioner of the Virginia Department
    of Elections,

                       Defendants,

    REPUBLICAN PARTY OF VIRGINIA,

                      Intervenor-Defendant.


                         PARTIAL CONSENT JUDGMENT AND DECREE

          1.        Whereas Virginia law requires that every voter filling out an absentee ballot must

   open, mark, and refold their ballot in the presence of a witness, and then have the witness sign

   their ballot envelope (the “witness requirement”), as stated in Va. Code § 24.2-706 and § 24.2-707

   and as interpreted by 1 Va. Admin. Code 20-70-20(B).

          2.        Whereas on March 12, 2020, Virginia Governor Ralph S. Northam issued

   Executive Order 51 (EO 51) in which he declared a state of emergency in Virginia in response to
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   the spread in Virginia of a respiratory illness (COVID-19) caused by a novel coronavirus—an

   order that remains in effect.

          3.      Whereas the virus that causes COVID-19 may be transmitted from person-to-

   person through close contact via inhalation of respiratory droplets when an infected person

   breathes, talks, coughs or sneezes; through inhalation of such droplets that become aerosolized and

   remain suspended in the air; and through contact with surfaces or objects on which the virus is

   present, followed by touching one’s own mouth, nose, or even eyes. The CDC has also confirmed

   that people infected with the virus may transmit it to others without showing symptoms

   themselves.

          4.      Whereas COVID-19 can cause severe consequences, including long-term illness

   and death, and the virus threatens to infect and harm any individual no matter their age or medical

   background. COVID-19 is particularly dangerous and sometimes fatal for older individuals,

   individuals with obesity, individuals with compromised immune systems, individuals with

   preexisting heart and respiratory conditions including hypertension and asthma, and individuals

   with various other conditions.

          5.      Whereas the Virginia Department of Health (“VDH”) continues to urge Virginians

   to do their “part to help stop the spread of COVID-19 by staying at home as much as possible,”

   and federal guidelines state: “[e]veryone [s]hould . . . avoid close contact” by “stay[ing] home as

   much as possible” and “put[ting] 6 feet of distance between yourself and people who don’t live in

   your household.” Centers for Disease Control and Prevention, Coronavirus Disease 2019

   (COVID-19): How to Protect Yourself & Others, https://www.cdc.gov/coronavirus/2019-

   ncov/prevent-getting-sick/prevention.html (last visited Aug. 4, 2020).

          6.      Whereas the witness requirement necessitates that any individual who lives alone



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   and wishes to vote an absentee ballot will need to either invite another person into their home or

   travel outside their home to meet a witness. Then, the individual must have the witness watch

   while they open their ballot envelope, fill out their ballot, close and sign the envelope, and finally

   exchange the envelope back and forth with the witness to obtain their signature. This situation

   requires that individuals who live alone and are isolating or practicing social distancing per public

   health recommendations come into close contact with another individual, and increase the

   likelihood that those involved will contract COVID-19 and transmit it to others. For this reason,

   the witness requirement creates a health risk to the general public.

          7.      Whereas in-person voting also creates a risk to individual voters and to public

   health, as voting in person involves waiting in line with other voters, interacting with poll workers,

   and touching voting equipment—some of this in an indoor environment—which also creates

   significant risk of virus transmission.

          8.      Whereas as of July 29, 2020, there have been well over 4 million cases and over

   150,000 deaths from COVID-19 in the United States, and over 87,000 cases and over 2,100 deaths

   from COVID-19 in Virginia alone. After declining in late May and into June, the number of daily

   new COVID-19 cases has once again been steadily rising in Virginia, as in most of the country.

          9.      Whereas an effective, widely available vaccine for COVID-19 will almost certainly

   not be available by November 3, 2020, and the significant weight of scientific evidence confirms

   that COVID-19 will likely continue to transmit widely in the community absent a vaccine or herd

   immunity, and that herd immunity will not occur anytime in the near future.

          10.     Whereas on April 17, 2020, Plaintiffs League of Women Voters of Virginia,

   Katherine D. Crowley, Erikka Goff, and Seijra Toogood filed a complaint against the above-named

   Defendants challenging enforcement during the ongoing public health crisis caused by the spread



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   of a novel coronavirus, SARS-CoV-2, of Virginia’s witness requirement. Among other relief

   requested, the Complaint sought to enjoin enforcement of the witness requirement for as long as

   public health officials continue to recommend social distancing practices due to the risk of

   community transmission of COVID-19. ECF No. 1 at 33.

          11.     Whereas on April 21, 2020, the same Plaintiffs filed a motion for preliminary

   injunction requesting this Court prohibit the above-named Defendants from enforcing the witness

   requirement for all Virginia voters for the primary election to be held on June 23, 2020 (“June

   Primary”), and for all subsequent elections in Virginia until such time as in-person interactions

   required by compliance with the witness requirement no longer pose a risk to public health and

   personal safety. Plaintiffs’ motion further requested that Defendants be ordered to issue guidance

   instructing election officials to count otherwise validly cast absentee ballots missing a witness

   signature and to conduct a public information campaign in conjunction with city and county

   election officials about the elimination of the requirement.

          12.     Whereas those same Plaintiffs and Defendants reached a proposed partial consent

   decree and judgment (the “first consent decree”) that they submitted to the Court for approval on

   April 27, 2020, governing the operation of the witness requirement for the June Primary. See ECF

   Nos. 35, 35-1, 36. After full briefing on this motion and a hearing, this Court approved the first

   consent decree which, among other things: (a) prohibited enforcement of the witness requirement

   for the June Primary for Virginia voters who did not believe they could safely comply; (b) required

   Defendants to issue guidance instructing all relevant city and county election officials to count all

   absentee ballots in the June primary that are otherwise validly cast but missing a witness signature;

   (c) required Defendants to prepare updated voting instructions to accompany the absentee ballots

   informing voters that any absentee ballot cast in the June Primary without a witness signature will



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   not be rejected on that basis and specifically inform voters in bold print that they may disregard

   the witness signature line on the absentee ballot envelope if they believe they may not safely have

   a witness present while completing their ballot; and (d) requiring Plaintiffs to withdraw their

   preliminary injunction motion and disclaiming Plaintiffs’ right to seek attorneys’ fees up to that

   point in the litigation. ECF No. 68.

          13.     Whereas in granting the first consent decree, the Court found that: “Plaintiffs’ case

   alleges a probable violation of federal law—that is, applying the witness requirement during this

   pandemic would impose a serious burden on the right to vote, particularly among the elderly,

   immunocompromised, and other at-risk populations. Weighed against those risks, the present

   record reflects the likelihood that the burden would not be justified by the witness requirement’s

   purpose as an anti-fraud measure. Thus, the Court finds that the partial settlement in the proposed

   consent decree is fair, adequate, and reasonable given the strength of the Plaintiffs’ case, and that

   entering it is not against the public interest, illegal, or the product of collusion.” ECF No. 69 at 1.

          14.     Whereas the June Primary proceeded smoothly under the terms of the first consent

   decree without an increase in fraud, to the knowledge of the Defendants.

          15.     Whereas on June 19, 2020, the Court granted Plaintiffs’ motion to dismiss Erikka

   Goff as a Plaintiff, ECF No. 80, and on July 17, 2020, the Court granted Plaintiffs’ motion to file

   a second amended complaint, which added new Plaintiffs Gayle Hardy, Carol D. Petersen, and

   Tracy Safran, see ECF Nos. 83, 84.

          16.     Whereas discovery produced in this case by Defendants shows that during the May

   2020 local elections in Virginia, for which the witness requirement was still in full effect and which

   occurred after the COVID-19 pandemic began, both the rate and number of absentee ballots

   rejected for lack of a witness signature climbed substantially.



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           17.     Whereas on July 24, 2020, Plaintiffs League of Women Voters of Virginia,

   Katherine D. Crowley, Seijra Toogood, Gayle Hardy, Carol D. Petersen, and Tracy Safran filed a

   Motion for Preliminary Injunction requesting this Court prohibit Defendants from enforcing the

   witness requirement for all Virginia voters for the November election and for all subsequent

   elections in Virginia until such time as in-person interactions required by compliance with the

   witness requirement no longer pose a risk to public health and personal safety. Plaintiffs’ motion

   further requested that Defendants be ordered to issue guidance instructing election officials to

   count otherwise validly cast absentee ballots missing a witness signature and conduct a public

   information campaign in conjunction with city and county election officials about the elimination

   of the requirement.

           18.     Whereas pursuant to Va. Code § 24.2-612, absentee voting must be available 45

   days prior to the November 3, 2020 General Election (“the November Election”), or Saturday,

   September 19, 2020. For localities whose general registrar’s offices are closed on Saturday,

   absentee ballots must be available on Friday, September 18, 2020.

           19.     Whereas in light of the data that supports the Plaintiffs’ concerns for their safety if

   they are required to interact with others in order to cast their ballot in the November Election,

   Plaintiffs and Defendants (collectively, the “Consent Parties”) agree that an expeditious resolution

   of this matter for the November general election, in the manner encompassed by the terms of this

   Consent Decree, is in the best interests of the health, safety, and constitutional rights of the citizens

   of the Commonwealth of Virginia, and therefore in the public interest.

           20.     Whereas the Consent Parties further agree that no eligible voter should have to

   choose between casting a ballot that will count and placing their own health at risk.




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          21.     Whereas Defendants agree not to enforce the witness requirement for the November

   Election for absentee voters who believe they may not safely have a witness present while

   completing their ballot.

          22.     Whereas Plaintiffs agree to withdraw their July 24, 2020 Motion for Preliminary

   Injunction upon entry of this Partial Consent Judgment and Decree.

          23.     Whereas the Consent Parties agree that entry of this Consent Decree does not affect

   the viability of Plaintiffs’ claims under the First and Fourteenth Amendments to the Constitution,

   or Section 2 of the Voting Rights Act, with respect to enforcement of the witness requirement in

   any subsequent elections after the November Election.

          24.     Whereas Plaintiffs agree to a waiver of any entitlement to damages, fees, including

   attorneys’ fees, expenses, and costs, that may have accrued as of the date of the entry of this order,

   with respect to the claims raised by Plaintiffs in this action, provided, however, that Plaintiffs

   reserve their rights to seek costs and attorneys’ fees on their claims in the event of material non-

   compliance by Defendants with the terms and conditions of this Consent Decree.

          25.     Whereas the Court finds that it has subject matter jurisdiction over the Consent

   Parties and that the Partial Consent Judgment and Decree is fair, adequate, and reasonable, and not

   illegal, a product of collusion, or against the public interest because such agreement preserves the

   constitutional right to vote of Plaintiffs and other Virginia voters while promoting public health

   during a pandemic and does so without harming the integrity of Virginia’s elections. The

   agreement also gives appropriate weight to Defendants’ expertise and public interest responsibility

   in the area of election administration.




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          26.     Whereas Plaintiffs made a sufficiently strong showing on the merits of the claim,

   as shown in their complaint and motion for preliminary injunction, to further support the fairness,

   adequacy, and reasonableness of this Partial Consent Judgment and Decree.

   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED FOR THE REASONS

   STATED ABOVE IN PARAGRAPHS 1-26 THAT:

          1.      For the November Election, Defendants shall not enforce the requirement, as stated

   in Va. Code § 24.2-706 and § 24.2-707, that absentee voters have another individual present to

   witness the voter open, mark, and refold their ballot, and then have that that individual sign the

   absentee ballot envelope next to the voter’s statement and signature, for voters who believe that

   they may not safely comply.

          2.      Defendants shall issue guidance instructing all relevant city and county election

   officials to count all absentee ballots in the November Election that are otherwise validly cast but

   are missing a witness signature.

          3.      Defendants shall issue updated instructions to include with all absentee ballots as

   provided in Va. Code. § 24.2-706—or issue guidance instructing all relevant city and county

   election officials to modify or amend the printed instructions accompanying each absentee ballot—

   to inform voters that any absentee ballot cast in the November Election without a witness signature

   will not be rejected on that basis and specifically inform voters in bold print that they may disregard

   the witness signature line on the absentee ballot envelope if they believe they may not safely have

   a witness present while completing their ballot.

          4.      Defendant Commissioner of Elections shall take additional reasonable steps to

   inform the public that the witness requirement will not be enforced for the November Election for

   those absentee voters who believe they may not safely have a witness present while completing



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   their ballot, and issue guidance instructing all relevant city and county election officials to do the

   same.

           5.     Plaintiffs will withdraw their motion for a preliminary injunction.

           6.     In accordance with the terms of this Consent Decree, the Consent Parties shall each

   bear their own fees, expenses, and costs incurred as of the date of this Order, with respect to all

   claims raised by Plaintiffs against the Defendants.



                                                                   _______________________
                                                                   United States District Judge

              August 21
   Dated: _______________, 2020


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